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                                                                           NASSER BASTANMEHR; PETER DEEME; TOM DIESSO;
                                                                       8   NATHAN DWIRI; ESTATE OF LOUIS MOSS; ESTATE OF
                                                                           JAMES STEELE; ESTATE OF RICHARD WIENER; MARCELO
                                                                       9   FONSECA; JAMES GILLESPIE; MAURICE HAROLD;
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                                                                      10   MARTINEZ; LAKEW MELESE, HAL MELLEGARD; SHELDON
                                                                           MILLER; JOHN NAKIS; GERARD NOLOT; NICK OLSON;
                                                                      11   EUGENE PAN; STEVE REIMERS; ZUHAR SINADA; LAWRENCE
                                                                           SONG; ARTHUR TSE; and GENE WISHNOFF
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                                                                      12

                                                                      13                            UNITED STATES BANKRUPTCY COURT

                                                                      14            NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

                                                                      15   In re: Yellow Cab Cooperative, Inc.     )   CASE NO. 16-30063 DM
                                                                                                                   )   Chapter 11
                                                                      16                                Debtor.    )
                                                                                                                   )   MOTION FOR ORDER AUTHORIZING
                                                                      17                                           )   INSURANCE PAYMENTS FOR DEFENSE,
                                                                                                                   )   OR IN THE ALTERNATIVE, MOTION FOR
                                                                      18                                           )   RELIEF FROM THE AUTOMATIC STAY;
                                                                                                                   )   MEMORANDUM OF POINTS AND
                                                                      19                                           )   AUTHORITIES
                                                                                                                   )
                                                                      20                                           )   Date:        July 19, 2018
                                                                                                                   )   Time:        9:30 a.m.
                                                                      21                                           )   Place:       450 Golden Gate Avenue
                                                                                                                   )                San Francisco, CA 94102
                                                                      22                                           )   Courtroom:   17 (16th Floor)
                                                                                                                   )
                                                                      23                                           )   Judge: Hon. Dennis Montali
                                                                      24          Movants Johnson Akinbodunse; Nasser Bastanmehr; Peter Deeme; Tom Diesso; Nathan
                                                                      25   Dwiri; Louis Moss; James Steele; Estate Of Richard Wiener; Marcelo Fonseca; James Gillespie;
                                                                      26   Maurice Harold; Dennis Korkos; Tim Lapp; Ali Malik; Pamela Martinez; Lakew Melese, Hal
                                                                      27   Mellegard; Sheldon Miller; John Nakis; Gerard Nolot; Nick Olson; Eugene Pan; Steve Reimers;
                                                                      28   Zuhar Sinada; Lawrence Song; Arthur Tse; and Gene Wishnoff (collectively, “Movants” or


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                                                                       1   “Defendants”) hereby move for an order authorizing payment for the defense of individual

                                                                       2   insureds named in the state court action, San Francisco County Superior Court Case No. CGC-

                                                                       3   18-563681 (“State Court Action”) filed by Chapter 11 Trustee Randy Sugarman (“Trustee” or

                                                                       4   “Plaintiff”). This Motion requests that Defendants be allowed to receive payment for their

                                                                       5   defense under a director and officer liability policy, or in the alternative, for relief from the

                                                                       6   automatic stay for use of policy proceeds for their defense. This Motion also seeks a waiver of

                                                                       7   the 14-day stay under Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure.

                                                                       8           This Motion is made on the grounds that causes exists to life the automatic stay because

                                                                       9   former directors and officers of the Debtor Yellow Cab Cooperative, Inc. named in the State
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                                                                      10   Court Action will be prejudiced if they are left without a defense.

                                                                      11           This Motion is based upon Section 362(d)(1) of the Bankruptcy Code, the points and
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                                       San Francisco, CA 94111




                                                                      12   authorities, the Declaration of Miguel A. Saldana, all pleadings and records on file in this case,

                                                                      13   and such oral and/or documentary evidence as may be presented at or prior to the hearing on this

                                                                      14   Motion.

                                                                      15   DATED: July 5, 2018                     GORDON REES SCULLY MANSUKHANI, LLP

                                                                      16
                                                                                                                   By:    /s/ Miguel A. Saldana
                                                                      17                                                  Miguel A. Saldana
                                                                                                                   Attorneys for Movants JOHNSON AKINBODUNSE;
                                                                      18                                           NASSER BASTANMEHR; PETER DEEME; TOM
                                                                                                                   DIESSO; NATHAN DWIRI; LOUIS MOSS; JAMES
                                                                      19                                           STEELE; ESTATE OF RICHARD WIENER; MARCELO
                                                                                                                   FONSECA; JAMES GILLESPIE; MAURICE HAROLD;
                                                                      20                                           DENNIS KORKOS; TIM LAPP; ALI MALIK; PAMELA
                                                                                                                   MARTINEZ; LAKEW MELESE, HAL MELLEGARD;
                                                                      21                                           SHELDON MILLER; JOHN NAKIS; GERARD NOLOT;
                                                                                                                   NICK OLSON; EUGENE PAN; STEVE REIMERS;
                                                                      22                                           ZUHAR SINADA; LAWRENCE SONG; ARTHUR TSE;
                                                                                                                   and GENE WISHNOFF
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                                                                       1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                                                       2   I.      INTRODUCTION

                                                                       3           Johnson Akinbodunse; Nasser Bastanmehr; Peter Deeme; Tom Diesso; Nathan Dwiri;

                                                                       4   Louis Moss; James Steele; Estate Of Richard Wiener; Marcelo Fonseca; James Gillespie;

                                                                       5   Maurice Harold; Dennis Korkos; Tim Lapp; Ali Malik; Pamela Martinez; Lakew Melese, Hal

                                                                       6   Mellegard; Sheldon Miller; John Nakis; Gerard Nolot; Nick Olson; Eugene Pan; Steve Reimers;

                                                                       7   Zuhar Sinada; Lawrence Song; Arthur Tse; and Gene Wishnoff (collectively, “Movants” or

                                                                       8   “Defendants”) move this Court for an order authorizing it to pay Defense Expenses on behalf of

                                                                       9   former directors and an officer of the Debtor Yellow Cab Cooperative, Inc. (“YCC” or
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                                                                      10   “Debtor”), named as defendants in the state court action titled Randy Sugarman, Chapter 11

                                                                      11   Trustee for Yellow Cab Cooperative, Inc. v. Hal Mellegard, Nathan Dwiri, et al. with San
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                                       San Francisco, CA 94111




                                                                      12   Francisco County Superior Court Case No. CGC-18-563681 (“State Court Action”).

                                                                      13   II.     BACKGROUND

                                                                      14           On January 22, 2016, Debtor filed its voluntary petition for relief under chapter 11 of the

                                                                      15   Bankruptcy Code, thereby commencing a chapter 11 bankruptcy. On November 15, 2016, the

                                                                      16   Bankruptcy Court ordered the appointment of Randy Sugarman as Chapter 11 Trustee (“Trustee”

                                                                      17   or “Plaintiff”).

                                                                      18           On January 16, 2018, the Chapter 11 Trustee Randy Sugarman (“Trustee” or “Plaintiff”)

                                                                      19   filed the State Court Action against the directors and officers of YCC on claims of Breach of

                                                                      20   Fiduciary Duty, Avoidance of Voidable Transfers, Recovery of Avoided Transfers, Corporate

                                                                      21   Waste, Unjust Enrichment, Violation of California Corporations Code Section 12200 et seq., and

                                                                      22   Negligence. A true and correct copy of the Complaint is attached to the Declaration of Miguel

                                                                      23   A. Saldana (“Saldana Declaration”) as Exhibit 1. As of the date of this Motion, Defendants

                                                                      24   have answered the Trustee’s complaint and the parties are engaging in discovery.

                                                                      25           Travelers Casualty and Surety Company of America (“Travelers”) retained Gordon Rees

                                                                      26   Scully Mansukhani, LLP (“GRSM”) as litigation counsel to represent Defendants in the State

                                                                      27   Court Action based on a Director and Officers Liability insurance policy (“D&O Policy”) issued
                                                                      28   by Travelers to Yellow Cab Cooperative, Inc. A true and correct copy of the D&O Policy is


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                                                                       1   attached to the Saldana Declaration as Exhibit 2.

                                                                       2          The D&O Policy has an aggregate limit of $1,000,000, with a supplemental personal

                                                                       3   indemnification limit of liability of $500,000. Under the terms of the D&O Policy, an “Insured

                                                                       4   Person” means any natural person who was, is or becomes a duly elected or appointed member

                                                                       5   of the board of directors or officer. Movants qualify as Insured Persons as all of them were at

                                                                       6   one point prior to the State Court Action directors and/or officers of Debtor.

                                                                       7          In an abundance of caution, Movants seek an order from this Court authorizing the

                                                                       8   payment of Defense Expenses under the D&O Policy in connection with the defense in the State

                                                                       9   Court Action. Alternatively, Movants seek relief from the automatic stay to allow payments of
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                                                                      10   such Defense Expenses.

                                                                      11   III.   ARGUMENT
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                                                                      12   A.     Cause Exists for Granting Relief From the Automatic Stay

                                                                      13          Once a bankruptcy petition is filed, an automatic stay is imposed on most actions against

                                                                      14   the debtor. Bankruptcy Code § 362(a) provides, in pertinent part, that a petition “operates as a

                                                                      15   stay, applicable to all entities, of…any act to obtain possession of property of the estate or of

                                                                      16   property from the estate or to exercise control over property of the estate.” 11 U.S.C. § 362(a).

                                                                      17   Although courts have differed in concluding whether a directors and officer insurance policy

                                                                      18   constitutes property of the estate, the Ninth Circuit has held that such policies could be treated as

                                                                      19   property of the bankruptcy estate under Section 541. See In re Minoco Grp. of Cos., 799 F.2d

                                                                      20   517, 519 (9th Cir. 1986).

                                                                      21          Movants suggest that the D&O Policy does not constitute property of the estate, but even

                                                                      22   assuming that it does constitute property of the estate, Section 362(d)(1) of the Bankruptcy Code

                                                                      23   states that the automatic stay may be lifted for cause. 11 U.S.C. § 362(d)(1). Specifically,

                                                                      24   Section 362(d)(1) states:

                                                                      25          On request of a party in interest and after notice and a hearing, the court shall
                                                                                  grant relief from the stay provided under subsection (a) of this section, such as by
                                                                      26          terminating, annulling, modifying, or conditioning such stay—
                                                                      27                  (1) for cause, including the lack of adequate protection of    an interest in
                                                                                          property of such party in interest; ....
                                                                      28


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                                                                       1          “Cause” for lifting the automatic stay “is determined on a case-by-case basis. In re

                                                                       2   Tucson, 912 F.2d 1162, 1166 (9th Cir. 1990); In re Conejo Enterprises, Inc., 96 F.3d 346, 352

                                                                       3   (9th Cir. 1996). Bankruptcy courts have found “cause” to lift the automatic stay in order to

                                                                       4   allow a payment under a directors and officers liability insurance policy, even where the policy

                                                                       5   provides coverage to the debtor. See In re Mila, Inc., 423 B.R. 537, 543-544 (9th Cir. BAP

                                                                       6   2010); In re Cybermedica, Inc., 280 B.R. 12, 18 (Bankr. D. Mass. 2002); In re Hoku Corp., No.

                                                                       7   13-40838-JDP, 2014 Bankr. LEXIS 1167, at *12 (Bankr. D. Idaho Mar. 25, 2014).

                                                                       8          In In re Mila, where the debtor corporation holding a D&O policy that would be eroded

                                                                       9   by defense payments filed for bankruptcy, the corporate officers facing lawsuits related to their
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                                                                      10   actions on the corporation's behalf were granted relief from the automatic stay to obtain advance

                                                                      11   defense costs payments from the insurer under the policy, even where the D&O policy proceeds
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                                                                      12   are deemed estate property. In determining whether to grant relief from the stay, the court must

                                                                      13   balance the harm to the debtor if the stay is modified against the harm to the directors and

                                                                      14   officers if they are prevented from enforcing their rights to defense costs. In re Mila, 423 B.R. at

                                                                      15   543-544. The bankruptcy court found that the director had incurred legal fees and other

                                                                      16   expenses related to defending the lawsuit and that the likelihood that the director would exhaust

                                                                      17   the $1 million policy appeared to be remote. The bankruptcy court granted relief from the

                                                                      18   automatic stay to allow the director to receive defense costs payments from the insurer. The

                                                                      19   Bankruptcy Appellate Panel affirmed.

                                                                      20          Similarly, in In re Cybermedica, the court granted two directors relief from stay to obtain

                                                                      21   payments from the insurer for defense costs incurred in defending against the trustee’s action.

                                                                      22   280 B.R. at 17. The bankruptcy court concluded that cause existed to lift the stay, reasoning:

                                                                      23          The directors and officers] may suffer substantial and irreparable harm if
                                                                                  prevented from exercising their rights to defense payments. [The directors and
                                                                      24
                                                                                  officers] are in need now of their contractual right to payment of defense costs
                                                                      25          and may be harmed if disbursements are not presently made to fund their defense
                                                                                  of the Trustee's Complaint. Additionally, the harm to the Debtor if relief from stay
                                                                      26          is granted is speculative given the fact that there are presently no claims for
                                                                                  indemnification nor entity coverage....
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                                                                       1   Id. at 18; see also Allied Digital Techs. Corp., 306 B.R. 505, 514 (Bankr. D. Del. 2004)

                                                                       2   (insurance proceeds held not property of estate, but even if they were, automatic stay was lifted

                                                                       3   when directors or officers face immediate harm and there was no evidence that coverage for the

                                                                       4   debtor will be necessary).

                                                                       5          In this case, causes exists for an order authorizing payment of the Defense Expenses on

                                                                       6   behalf of Movants in order to defend themselves in the State Court Action. Without such

                                                                       7   payments, the Debtor’s former directors and officers face the prejudice of potential inability to

                                                                       8   defend themselves against these claims. Thus, to the extent that relief from the automatic stay is

                                                                       9   required, Movants request an order lifting the automatic stay to allow payment of such Defense
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                                                                      10   Expenses.

                                                                      11   B.     The Order Should Take Immediate Effect
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                                                                      12          Federal Rule of Bankruptcy Procedure 4001(a)(3) states, in pertinent part, that an order

                                                                      13   “granting a motion for relief from an automatic stay made in accordance with Rule 4001(a)(1) is

                                                                      14   stayed until the expiration of 14 days after the entry of the order, unless the court orders

                                                                      15   otherwise.” Fed. R. Bankr. P. 4001(a)(3). In the State Court Action, the Trustee and Defendants

                                                                      16   are currently moving forward with extensive discovery efforts. As a result, Movants respectfully

                                                                      17   request that the Court order that the stay under Rule 4001(a)(3) not apply to the order granting

                                                                      18   this Motion.

                                                                      19   IV.    CONCLUSION

                                                                      20          For the reasons stated above, Movants (i.e. Defendants in the State Court Action and

                                                                      21   former directors and officers) respectfully request that this Court enter an order authorizing

                                                                      22   ///

                                                                      23   ///

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                                                                          1   Travelers to pay Defense Expenses incurred or to be incurred by Defendants, with no stay on the

                                                                          2   effect of the order pursuant to Federal Rule of Bankruptcy Procedure 4001(a)(3).

                                                                          3

                                                                          4   DATED: July 5, 2018                  GORDON REES SCULLY MANSUKHANI, LLP

                                                                          5
                                                                                                                   By:    /s/ Miguel A. Saldana
                                                                          6                                               Miguel A. Saldana
                                                                                                                   Attorneys for JOHNSON AKINBODUNSE; NASSER
                                                                          7                                        BASTANMEHR; PETER DEEME; TOM DIESSO;
                                                                                                                   NATHAN DWIRI; LOUIS MOSS; JAMES STEELE;
                                                                          8                                        ESTATE OF RICHARD WIENER; MARCELO
                                                                                                                   FONSECA; JAMES GILLESPIE; MAURICE HAROLD;
                                                                          9                                        DENNIS KORKOS; TIM LAPP; ALI MALIK; PAMELA
                                                                                                                   MARTINEZ; LAKEW MELESE, HAL MELLEGARD;
   Gordon Rees Scully Mansukhani, LLP




                                                                         10                                        SHELDON MILLER; JOHN NAKIS; GERARD NOLOT;
                                                                                                                   NICK OLSON; EUGENE PAN; STEVE REIMERS;
                                                                         11                                        ZUHAR SINADA; LAWRENCE SONG; ARTHUR TSE;
                                                                                                                   and GENE WISHNOFF
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